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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                    :                   ECF CASE
VICTOR LOPEZ, ON BEHALF OF HIMSELF
                                    :
AND ALL OTHER PERSONS SIMILARLY
                                    :
SITUATED
                                    :                   No.: 19cv2859
                                    :
                                    :                   CLASS ACTION COMPLAINT
                 Plaintiffs,
                                    :
                                    :                   JURY TRIAL DEMANDED
                   v.
                                    :
                                    :
OSIB 50TH STREET OPERATOR LLC, OSIB
                                    :
BOWERY STREET OPERATOR LLC, OSIB-
BCRE 50TH STREET HOLDINGS LLC AND   :
OSIB-BCRE BOWERY STREET HOLDINGS
LLC,

               Defendants.
------------------------------------X
                           INTRODUCTION

       1.       Plaintiff, VICTOR LOPEZ, on behalf of himself and all other persons similarly

situated (“Plaintiff”), asserts the following claims against Defendants, OSIB 50TH STREET

OPERATOR LLC, OSIB BOWERY STREET OPERATOR LLC, OSIB-BCRE 50TH STREET

HOLDINGS LLC AND OSIB-BCRE BOWERY STREET HOLDINGS LLC, (“Defendant” or

“citizenM”), as follows.

       2.       Plaintiff is a visually-impaired and legally blind person who requires screen-

reading software to read website content using his computer. Plaintiff uses the terms “blind” or

“visually-impaired” to refer to all people with visual impairments who meet the legal definition

of blindness in that they have a visual acuity with correction of less than or equal to 20 x 200.

Some blind people who meet their definition have limited vision. Others have no vision.

       3.       Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in

the United States are visually impaired, including 2.0 million who are blind, and according to the
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American Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired

persons live in the State of New York.

       4.       Plaintiff asserts claims under the Americans With Disabilities Act (“ADA”), New

York State Human Rights Law (“NYSHRL”) and New York City Human Rights Law

(“NYCHRL”) against Defendant.

       5.       Because   Defendant's    websites,    https://www.citizenm.com/destinations/new-

york/new-york-times-square-hotel and https://www.citizenm.com/destinations/new-york/new-

york-bowery-hotel (the “Website” or “Defendant’s Website”), fail to identify and describe

accessible features in the hotels and guest rooms offered through its reservations service on its

Website in enough detail to reasonably permit individuals with disabilities such as the Plaintiff to

assess independently whether a given hotel or guest room meets his or her accessibility needs, it

violates the provisions of the ADA including certain regulations promulgated thereunder (28

C.F.R. § 36.302(e)(1)).

       6.       Plaintiff seeks a permanent injunction to cause a change in Defendant’s corporate

policies, practices, and procedures so that Defendant’s Website will include information as to

accessibility features in their hotels and guest rooms to reasonably permit individuals with

disabilities, including Plaintiff, to assess independently whether Defendant’s hotels or guest

rooms meet his or her accessibility needs so that Defendant’s hotels become and remain

accessible to blind and visually-impaired consumers. See, Poschmann v. Coral Reef of Key

Biscayne Developers, Inc., (U.S.D.C. SDFL, May 23, 2108), WL 3387679, Lexis 87457.




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                                 JURISDICTION AND VENUE

       7.       The Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181,

et seq., and 28 U.S.C. § 1332.

       8.       The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s

New York State Human Rights Law, N.Y. Exec. Law Article 15, (“NYSHRL”) and New York

City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq., (“NYCHRL”) claims.

       9.       Venue is proper in this District under 28 U.S.C. §1391(b)(1) and (2) because

Defendant does business by owning, managing and/or operating several hotels in New York, NY

in this District and would thereby be considered a resident of this District if it were a separate

state and 28 U.S.C. §1391(d) because a substantial part of the events giving rise to this claim

occurred in this District due to the Plaintiff attempting to access the Defendant’s website from

his home in New York, NY.

       10.      Defendant is subject to personal jurisdiction in this District. Defendant has been

and is committing the acts or omissions alleged herein in the Southern District of New York that

caused injury, and violated rights the ADA prescribes to Plaintiff and to other blind and other

visually impaired-consumers. Plaintiff has been denied the full use and enjoyment of the

Defendant’s facilities, goods, and services of Defendant’s physical hotels as a result of

Defendant’s failure to include information relating to the accessibility features of its facilities

and information relating to its accessible guest rooms in enough detail on its reservation system

to permit Plaintiff to access whether the facility and/or the guest room meets its individual needs.

The lack of information on the Website reservation system has caused a denial of Plaintiff’s full

and equal access to Defendant’s hotels.



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       11.      The Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201

and 2202.

                                          THE PARTIES

       12.      Plaintiff, at all relevant times, is a resident of New York, New York. Plaintiff is a

blind, visually-impaired handicapped person and a member of a protected class of individuals

under the ADA, under 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set

forth at 28 CFR §§ 36.101 et seq., the NYSHRL and NYCHRL.

       13.      Defendant, OSIB 50th Street Operator LLC is and was, at all relevant times

herein, a Delaware Foreign Limited Liability Company that owns, operates and manages a hotel

located at 218 W 50th St, New York City, NY.

       14.      Defendant, OSIB Bowery Street Operator LLC is and was, at all relevant times

herein, a Delaware Foreign Limited Liability Company that owns, operates and manages a hotel

located at 189 Bowery, New York City, NY.

       15.      Defendant, OSIB-BCRE 50th Street Holdings LLC is and was, at all relevant

times herein, a Delaware Foreign Limited Liability Company that owns, operates and manages a

hotel located at 218 W 50th St, New York City, NY.

       16.      Defendant, OSIB-BCRE 50th Street Holdings LLC is and was, at all relevant

times herein, a Delaware Foreign Limited Liability Company that owns, operates and manages a

hotel located at 189 Bowery, New York City, NY.

       17.      The citizenM Hotel is one of the largest hospitality companies in New York and it

owns, operates and manages the following two hotels in New York City which are the subject of

this lawsuit as follows: citizenM New York Times Square Hotel and citizenM New York

Bowery Hotel.



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       18.     The citizenM Hotel gives access to each of their owned hotel’s reservation system

by way of offering a link on their website. These links on The citizenM Hotel’s website, connect

its users with the reservation of system of each of their hotels so that users may make a

reservation and/or contact the property for more information, such as amenities, special offers,

and property locations.

                                       NATURE OF ACTION

       19.     The Internet has become a significant source of information, a portal, and a tool

for conducting business, doing everyday activities such as shopping, learning, banking,

researching, choosing hotel accommodations, as well as many other activities for sighted, blind

and visually-impaired persons alike.

       20.     Blind and visually-impaired people have the ability to access websites using

keyboards in conjunction with screen access software that vocalizes the visual information found

on a computer screen or displays the content on a refreshable Braille display. Their technology is

known as screen-reading software. Screen-reading software is currently the only method a blind

or visually-impaired person may independently access the Internet. Unless websites are designed

to be read by screen-reading software, blind and visually-impaired persons are unable to fully

access websites, and the information, products, and services contained thereon.

       21.     Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen reading software programs available to them. Some

of these programs are available for purchase and other programs are available without the user

having to purchase the program separately. Job Access With Speech, otherwise known as

“JAWS” is currently the most popular, separately purchased and downloaded screen-reading

software program available for a Windows computer.



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         22.    For screen-reading software to function, the information on a website must be

capable of being rendered into text. If the website content is not capable of being rendered into

text, the blind or visually-impaired user is unable to access the same content available to sighted

users.

         23.    The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web Content

Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established guidelines for making

websites accessible to blind and visually-impaired people. These guidelines are universally

followed by most large business entities, most Courts and government agencies to ensure their

websites are accessible.

         24.    On March 15, 2012, the revised regulations implementing Title III of the ADA

took effect, imposing significant new obligations on inns, motels, hotels and other “places of

lodging,” specifically, 28 C.F.R. § 36.302(e)(i) provides that:


         Reservations made by places of lodging. A public accommodation that owns, leases (or
         leases to), or operates a place of lodging shall, with respect to reservations made by any
         means, including by telephone, in person, or by a third party ---

                (i)     Modify its policies, practices, or procedures to ensure that individuals with
                        disabilities can make reservations for accessible guest rooms during the
                        same hours and in the same manner as individuals who do not need
                        accessible rooms;

                (ii)    Identify and describe accessible features in the hotels and guest rooms
                        offered through its reservations service in enough detail to reasonably
                        permit individuals with disabilities to assess independently whether a
                        given hotel or guest room meets his or her accessibility needs;

                (iii)   Ensure that accessible guest rooms are held for use by individuals with
                        disabilities until all other guest rooms of that type;

                (iv)    Reserve, upon request, accessible guest rooms or specific types of guest
                        rooms and ensure that the guest rooms requested are blocked and removed
                        from all reservation systems; and

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                (v)    Guarantee that the specific accessible guest room or guest rooms reserved
                       through its reservations service is held for the reserving customer,
                       regardless of whether a specific room is held in response to reservations
                       made by others

       25.      Hotels are required to identify and describe all accessible features in the hotel and

guest rooms; “[t]his requirement is essential to ensure individuals with disabilities receive

information they need to benefit from the services offered by the place of lodging.” 28 C.F.R.

Part 36, Appx. A. Moreover, “a public accommodation’s designation of a guest room as

‘accessible’ does not ensure necessarily that the room complies with all of the 1991 Standards.”

28 C.F.R. Part 36, Appx. A. Labeling a guest room as “accessible” or “ADA” is not sufficient.

Accordingly, Defendant is required to set forth specific accessible features and not merely recite

that a guest room is “accessible” or “ADA compliant” or list accessibility features that may (or

may not) be offered within a particular room.

       26.      For hotels in buildings constructed after the effective date of 1991, such as many

of Defendant’s hotels, the regulations provide that it is sufficient to advise that the hotel itself is

fully ADA compliant, and for each accessible guest room, to specify the room type, the type of

accessible bathing facility in the room, and the communications features in the room. 28 C.F.R.

Part 36, Appx. A. For hotels built before the effective date in 1991, there is detailed information

relating to the description of individual accessibility features that the hotel is also required to

disclose.

       27.      In promulgating these new requirements, it is clear that the intention of the

Department of Justice is to ensure that individuals with disabilities should be able to reserve

hotel rooms with the same efficiency, immediacy, and convenience as those who do not need

accessible guest rooms. 28 C.F.R. Part 36, Appx. A.




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                                STATEMENT OF FACTS

                            Defendant’s Website and Compliance with

                         Requirement to Describe Accessibility Features

       28.     Defendant owns and operates numerous hotels in the City of New York as well as

in the rest of the United States. Many of these locations also offer dining and entertainment

options, including on-site restaurants, room service and lobby lounges.

       29.     Defendant’s Website offers features to the public that should allow all consumers

to access the facilities and services that it offers about their hotels. The Website is heavily

integrated with their hotels, serving as their gateway.

       30.     It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff, along with other blind or visually-impaired users, using Defendant’s Website access to

information through their reservation system relating to the availability of ADA compliant rooms

and handicap accessible features of the hotel, and to therefore specifically deny the goods and

services that are offered and integrated with Defendant’s hotels. Due to Defendant’s failure and

refusal to add information through their reservation system relating to its accessibility for

visually-impaired persons on their Website, Plaintiff and visually-impaired persons have been

and are still being denied equal access to Defendant’s hotels and the numerous goods, services,

and benefits offered to the public at Defendant’s hotels.

       31.     Plaintiff is a visually-impaired and legally blind person, who cannot use a

computer without the assistance of screen-reading software. Plaintiff is, however, a proficient

JAWS screen-reader user and uses it to access the Internet. Plaintiff has visited the Defendant’s

Website on separate occasions using the JAWS screen-reader.




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       32.     During Plaintiff’s visits to the Website, last occurring in March, 2019, Plaintiff

was not able to determine from the reservation system on the Website what ADA compliant

features, if any, the hotels offer and whether the guest rooms have handicap accessible facilities

or communications equipment in the guest rooms suitable to blind or visually-impaired persons.

As a result, Plaintiff has been denied full and equal access to the facilities, goods and services

offered to the public and made available to the public; and that denied Plaintiff the full

enjoyment of the facilities, goods, and services of Defendant’s physical locations in New York

City and New York State by being unable to learn any information about the accessibility

features of the hotels or its guest rooms.

             Defendant Must Include Information Relating to ADA Compliant Rooms

          and Handicap Accessibility Features Through Its Website Reservation System

       33.     Due to the lack of information relating to the accessibility features of Defendant’s

hotels through the reservation system on the Website, blind and visually-impaired customers

such as Plaintiff, who need screen-readers, cannot fully and equally use or enjoy the facilities,

goods, and services Defendant offers to the public in their hotels. The access barriers Plaintiff

encountered have caused a denial of Plaintiff’s full and equal access in the past, and now deter

Plaintiff on a regular basis using the services that the hotels offer to the public because of the

lack of information on accessibility through the reservation system on the Website. Plaintiff

intends to visit Defendant’s hotels or book rooms in Defendant’s hotels in the future if the

Plaintiff was able to learn about the accessibility of Defendant’s hotels and guest rooms for blind

and vision-impaired persons through the reservation system on their website and those

accessibility features meet the needs of the Plaintiff.




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       34.        These access barriers on Defendant’s Website reservation system have deterred

Plaintiff from visiting Defendant’s physical locations, and enjoying them equal to sighted

individuals because: Plaintiff was unable to find information on the Website reservation system

relating to the accessibility of the hotels and guest rooms for blind and visually-impaired people

and other important information, preventing Plaintiff from reserving a room at the hotels, staying

at the hotel and using the facilities of the hotel including restaurants and attending events.

       35.        If the hotels and the Website reservation system were equally accessible to all,

Plaintiff could independently navigate the Website and complete a desired transaction as sighted

individuals do.

       36.        Through visiting the Website, Plaintiff has actual knowledge of the lack of

information on accessibility features available on the reservation system on the Website that

result in making the services and facilities of the hotel inaccessible and independently unusable

by blind and visually-impaired people.

       37.        Because simple compliance with the provisions of the ADA relating to providing

information about accessibility features of the hotels and the guest rooms on its Website

reservation system would provide Plaintiff and other visually-impaired consumers with equal

access to the services and facilities at Defendant’s hotels, Plaintiff alleges that Defendant has

engaged in acts of intentional discrimination, including, but not limited to, the failure to provide

information on its Website reservation system sufficient to advise that the hotels are fully ADA

compliant, and for each accessible guest room, to specify the room type, the type of accessible

facility in the room, and the communications features in the room.

       38.        Defendant therefore use standards, criteria or methods of administration that have

the effect of discriminating or perpetuating the discrimination of others, as alleged herein.



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       39.     The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to alter
       facilities to make such facilities readily accessible to and usable by individuals with
       disabilities . . . Where appropriate, injunctive relief shall also include requiring the . . .
       modification of a policy . . .

       42 U.S.C. § 12188(a)(2).

       40.     Because Defendant’s Website reservation system has never included the required

information, and because Defendant lacks a corporate policy that is reasonably calculated to

cause the Website reservation system to include the required information relating to accessibility,

Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring Defendant

to retain a qualified consultant acceptable to Plaintiff (“Agreed Upon Consultant”) to assist

Defendant to comply with the ADA regulations requiring certain accessibility information to be

included on    Defendant’s Website reservation system. Plaintiff seeks that their permanent

injunction requires Defendant to cooperate with the Agreed Upon Consultant to:

               a.      Train Defendant’s employees and agents who develop the Website for

accessibility and compliance to identify and describe accessible features in the hotels and guest

rooms on the Website reservation system and a statement that the hotels are fully ADA

compliant, and for each accessible guest room, to specify the room type, the type of accessible

facility in the room including a detailed description of the features of such facility so that a blind

or visually-impaired person can determine if the features meet such person’s needs, and the

communications features in the room including a detailed description of the communications

features so that a blind or visually-impaired person can independently determine if the features

meet such person’s needs, including, but not limited to:




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      1. Whether Defendant’s employees and agents such as managers, bell staff, doormen,

          concierges, transportation providers, security personnel, front desk and other staff are

          trained to assist blind and vision-impaired guests with basic needs such as: completing

          the hotel registration; learning about and completing service requests like laundry, dry

          cleaning, valet, shipping, room service, etc.; reviewing the hotel bill and charges;

          counting and identifying currency; using a signature guide or template in conjunction

          with their credit card; using a passcard-type of key; luggage rooms, business center, gym

          or health club, lounge facilities, rest rooms; orienting guests to hotel and guest room

          layouts; location of fire alarms, emergency exits and equipment; heating and air

          conditioning controls; TV remote controls; message retrieval system; automated wake-

          up systems; and safe deposit box.

      2. Whether Defendant accepts guide dogs and, if so, if there are any charges associated with

          the guide dogs, their policies with respect to guide dogs and if there are any rest areas for

          guide dogs.

      3. Whether the hotels provide a braille and/or large print menu for restaurants and/or room

          service and, in the alternative, if they have trained staff to read the menu to blind or

          vision-impaired guests.

      4. Whether or not emergency exit signs are compliant with ADAAG1 requirements and

          emergency evacuation plans and information are provided in braille and large print.

      5. Whether or not all accessible signage complies with the requirements of the ADAAG.

      6. Whether or not the stairs, escalators and elevators comply with ADAAG standards, such

          as braille for floor numbers in the elevator and a verbal annunciator for each floor.



1
    ADA Accessibility Guidelines promulgated by the United States Access Board

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   7. Whether or not the hotels have removed or protected protruding objects which protrude

       more than 4” into walkways and hallways such as drinking fountains, fire extinguishers,

       and planters and if they provide cane detectable warnings for the underside of stairways.

   8. Whether or not the guest rooms contain tactile and large print thermostat controls and

       talking/large print clocks.

   9. Whether or not signage in the hotel can be easily located by blind and vision-impaired

       persons with 2” minimum height raised letters and braille characters centered at 60”

       above the finished floor to indicate floor numbers, rest rooms, lobby, vending and ice

       machines and all other hotel facilities and amenities.

               b.      Regularly check the accessibility of the Website and its reservation system

under the WCAG 2.0 guidelines;

               c.      Regularly test user accessibility by blind or vision-impaired persons to

ensure that Defendant’s Website and the reservation system complies under the WCAG 2.0

guidelines; and

               d.      Regularly check the hotels and the guest rooms to ensure that the

accessibility features that they describe on its website reservation system are in fact available and

properly maintained.

       41.     If the ADA-required information is included on the Website reservation system,

Plaintiff and similarly situated blind and visually-impaired people could independently determine

through use of the Website if Defendant’s hotels and guest rooms are ADA compliant and if the

facilities described relating the facilities and communications equipment in guest rooms are

acceptable to the Plaintiff and similarly situated blind and visually-impaired people




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       42.     Although Defendant may currently have centralized policies regarding

maintaining and operating its Website and the inclusion of information on the Website,

Defendant lacks a plan and policy reasonably calculated to include the ADA-required

information on the Website reservation system to make such information fully and equally

accessible to, and independently usable by, blind and other visually-impaired consumers.

       43.     Defendant has, upon information and belief, invested substantial sums in

developing and maintaining the Website and has generated significant revenue from the Website.

These amounts are far greater than the associated cost of including the information required

under the ADA regulations on the Website reservation system in order to make its facilities and

guest rooms equally accessible to visually impaired customers.

       44.     Without injunctive relief, Plaintiff and other visually-impaired consumers will

continue to be unable to independently use the Website reservation system to obtain information

relating to ADA accessibility of the hotels and their guest rooms, violating their rights.

                            CLASS ACTION ALLEGATIONS

       45.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the

United States who have attempted to access Defendant’s Website to obtain the ADA-required

accessibility information and as a result have been denied access to the equal enjoyment of goods

and services offered in Defendant’s physical locations, during the relevant statutory period.

       46.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

New York State subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in

the State of New York who have attempted to access Defendant’s Website to obtain the ADA-




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required information and as a result have been denied access to the equal enjoyment of goods

and services offered in Defendant’s physical locations, during the relevant statutory period.

       47.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

New York City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in

the City of New York who have attempted to access Defendant’s Website to obtain the ADA-

required information and as a result have been denied access to the equal enjoyment of goods

and services offered in Defendant’s physical locations, during the relevant statutory period.

       48.     Common questions of law and fact exist amongst Class, including:

               a.      Whether Defendant’s Website reservation system contains the information

on accessibility required under the ADA regulations;

               b.      Whether Defendant’s Website is a “place or provider of public

accommodation” under the NYSHRL or NYCHRL;

               c.      Whether Defendant’s Website denies the full and equal enjoyment of its

goods, services, facilities, privileges, advantages, or accommodations to people with visual

disabilities, violating the ADA; and

               d.      Whether Defendant’s Website denies the full and equal enjoyment of its

goods, services, facilities, privileges, advantages, or accommodations to people with visual

disabilities, violating the NYSHRL or NYCHRL.

       49.     Plaintiff’s claims are typical of the Class. The Class, similarly to the Plaintiff, are

severely visually impaired or otherwise blind, and claim that Defendant have violated the ADA,

NYSHRL or NYCHRL by failing to include the ADA-required information on the Website

reservation system so individuals with disabilities can independently assess if Defendant’s hotels

or guest rooms meet the accessibility needs of the Plaintiff and the Class.



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          50.    Plaintiff will fairly and adequately represent and protect the interests of the Class

Members because Plaintiff has retained and is represented by counsel competent and experienced

in complex class action litigation, and because Plaintiff has no interests antagonistic to the Class

Members. Class certification of the claims is appropriate under Fed. R. Civ. P. 23(b)(2) because

Defendant has acted or refused to act on grounds generally applicable to the Class, making

appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a

whole.

          51.    Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because fact and legal questions common to Class Members predominate over questions

affecting only individual Class Members, and because a class action is superior to other available

methods for the fair and efficient adjudication of their litigation.

          52.    Judicial economy will be served by maintaining their lawsuit as a class action in

that it is likely to avoid the burden that would be otherwise placed upon the judicial system by

the filing of numerous similar suits by people with visual disabilities throughout the United

States.

                            FIRST CAUSE OF ACTION
                   VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

          53.     Plaintiff, on behalf of himself and the Class Members, repeats and realleges

every allegation of the preceding paragraphs as if fully set forth herein.

          54.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

          No individual shall be discriminated against on the basis of disability in the full and equal
          enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
          any place of public accommodation by any person who owns, leases (or leases to), or
          operates a place of public accommodation.

          42 U.S.C. § 12182(a).



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       55.     Defendant’s hotels are places of public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7)(A). Defendant’s Website is a service, privilege, or

advantage of Defendant’s hotels. The Website is a service that is integrated with the Defendant’s

hotels and is a gateway thereto.

       56.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).

       57.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities an opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodation, which is equal to the opportunities

afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

       58.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures, when
       such modifications are necessary to afford such goods, services, facilities, privileges,
       advantages, or accommodations to individuals with disabilities, unless the entity can
       demonstrate that making such modifications would fundamentally alter the nature of such
       goods, services, facilities, privileges, advantages or accommodations; and a failure to
       take such steps as may be necessary to ensure that no individual with a disability is
       excluded, denied services, segregated or otherwise treated differently than other
       individuals because of the absence of auxiliary aids and services, unless the entity can
       demonstrate that taking such steps would fundamentally alter the nature of the good,
       service, facility, privilege, advantage, or accommodation being offered or would result in
       an undue burden.
                                42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

       59.     The acts alleged herein constitute violations of Title III of the ADA, and the

regulations promulgated thereunder. Plaintiff, who is a member of a protected class of persons



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under the ADA, has a physical disability that substantially limits the major life activity of sight

within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore, Plaintiff has been denied

full and equal access to the ADA-required information on the Website reservation system, and,

as a result, has not been provided services that are provided to other patrons who are not

disabled, and has been provided services that are inferior to the services provided to non-disabled

persons. Defendant have failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

       60.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

incorporated therein, Plaintiff, requests relief as set forth below.

                              SECOND CAUSE OF ACTION
                             VIOLATIONS OF THE NYSHRL

       61.     Plaintiff, on behalf of himself and the New York State Sub-Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth herein.

       62.     N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

employee of any place of public accommodation . . . because of the . . . disability of any person,

directly or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof.”

       63.     Defendant’s physical hotels are located in the State of New York and constitute

places of public accommodation within the definition of N.Y. Exec. Law § 292(9). Defendant’s

Website is a service, privilege or advantage of Defendant. Defendant’s Website is a service that

is heavily integrated with these physical locations and is a gateway thereto.




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       64.     Defendant is subject to New York Human Rights Law because it owns and

operates its physical locations and Website. The Defendant is a person within the meaning of

N.Y. Exec. Law § 292(1).

       65.     Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to include the

ADA-required information on the Website reservation system, causing the Website and the

services integrated with Defendant’s physical locations to be completely inaccessible to the

blind. This inaccessibility denies blind patrons full and equal access to the facilities, goods and

services that Defendant makes available to the non-disabled public.

       66.     Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice includes,

among other things, “a refusal to make reasonable modifications in policies, practices, or

procedures, when such modifications are necessary to afford facilities, privileges, advantages or

accommodations to individuals with disabilities, unless such person can demonstrate that making

such modifications would fundamentally alter the nature of such facilities, privileges, advantages

or accommodations being offered or would result in an undue burden."

       67.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice also

includes, “a refusal to take such steps as may be necessary to ensure that no individual with a

disability is excluded or denied services because of the absence of auxiliary aids and services,

unless such person can demonstrate that taking such steps would fundamentally alter the nature

of the facility, privilege, advantage or accommodation being offered or would result in an undue

burden.”

       68.     Readily available, well-established guidelines exist on the Internet for including

the ADA-required information on websites making such websites accessible to the blind and

visually impaired. Incorporating the basic components to make the Website reservation system



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include the ADA-required information would neither fundamentally alter the nature of

Defendant’s business nor result in an undue burden to Defendant.

        69.    Defendant’s actions constitute willful intentional discrimination against the class

on the basis of a disability in violation of the NYSHRL, N.Y. Exec. Law § 296(2) in that

Defendant has:

               a.      constructed and maintained a website that does not contain the ADA-

required information on its reservation system making their hotels inaccessible to blind class

members with knowledge of the discrimination; and/or

               b.      failed to take actions to correct the lack of the ADA-required information

in the face of substantial harm and discrimination to blind class members.

        70.    Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

        71.    Defendant discriminates, and will continue in the future to discriminate against

Plaintiff and New York State Sub-Class Members on the basis of disability in the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

opportunities of Defendant’s Website and their physical locations under § 296(2) et seq. and/or

its implementing regulations. Unless the Court enjoins Defendant from continuing to engage in

these unlawful practices, Plaintiff and the Sub-Class Members will continue to suffer irreparable

harm.

        72.    Defendant’s actions were and are in violation of New York State Human Rights

Law and therefore Plaintiff invokes his right to injunctive relief to remedy the discrimination.

        73.    Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines under N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.



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       74.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       75.     Under N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth

and incorporated therein Plaintiff prays for judgment as set forth below.

                              THIRD CAUSE OF ACTION
                            VIOLATIONS OF THE NYCHRL

       76.     Plaintiff, on behalf of himself and the New York City Sub-Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth herein.

       77.     N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place or provider of public accommodation, because of

. . . disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any of

the accommodations, advantages, facilities or privileges thereof.”

       78.     Defendant’s hotels are places of public accommodation within the definition of

N.Y.C. Admin. Code § 8-102(9), and the Website is a service that is integrated with their

establishments.

       79.     Defendant is subject to NYCHRL because it owns and operates physical locations

in the City of New York and the Website, making the Defendant a person within the meaning of

N.Y.C. Admin. Code § 8-102(1).

       80.     Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to

update the Website and remove access barriers to its hotels by failing to include the ADA-

required information on its reservation system, causing the services integrated with their physical

locations to be completely inaccessible to the blind. The inaccessibility denies blind patrons full

and equal access to the facilities, goods, and services that Defendant makes available to the non-

disabled public.

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       81.     Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from

discriminating on the basis of disability shall make reasonable accommodation to enable a

person with a disability to . . . enjoy the right or rights in question provided that the disability is

known or should have been known by the covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).

       82.     Defendant’s actions constitute willful intentional discrimination against the Sub-

Class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a)

and § 8-107(15)(a) in that Defendant has:

               a.      constructed and maintained a website that does not contain the ADA-

required information on its reservation system making their hotels inaccessible to blind class

members with knowledge of the discrimination; and/or

               b.      failed to take actions to correct the lack of the ADA-required information

in the face of substantial harm and discrimination to blind class members.

       83.     Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

       84.     As such, Defendant discriminates, and will continue in the future to discriminate

against Plaintiff and members of the proposed class and subclass on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of the Website and their establishments under § 8-

107(4)(a) and/or its implementing regulations. Unless the Court enjoins Defendant from

continuing to engage in these unlawful practices, Plaintiff and members of the class will continue

to suffer irreparable harm.




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         85.    Defendant’s actions were and are in violation of the NYCHRL and therefore

Plaintiff invokes his right to injunctive relief to remedy the discrimination.

         86.    Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense as well as

punitive damages pursuant to § 8-502.

         87.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.

         88.    Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as set forth

below.

                              FOURTH CAUSE OF ACTION
                                DECLARATORY RELIEF

         89.    Plaintiff, on behalf of himself and the Class and New York State and City Sub-

Classes Members, repeats and realleges every allegation of the preceding paragraphs as if fully

set forth herein.

         90.    An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that the Website does not

contain the ADA-required information on its reservation system denying blind customers the full

and equal access to the goods, services and facilities of the Website and by extension their

physical locations, which Defendant owns, operates and controls, fails to comply with applicable

laws including, but not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §§

12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Admin. Code § 8-107, et seq.

prohibiting discrimination against the blind.

         91.    A judicial declaration is necessary and appropriate at this time in order that each

of the parties may know their respective rights and duties and act accordingly.

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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests the Court grant the following relief:

               a.     A preliminary and permanent injunction to prohibit Defendant from

violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law §

296, et seq., N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

               b.     A preliminary and permanent injunction requiring Defendant to take all

the steps necessary to make the Website reservation system into full compliance with the

requirements set forth in the ADA, and its implementing regulations, so that the Website

contains the ADA-required information making their hotels and guest rooms accessible to and

usable by blind and vision-impaired individuals;

               c.     A declaration that Defendant owns, maintains and/or operates the Website

reservation system in a manner that discriminates against the blind and vision-impaired and

which fails to provide access for persons with disabilities as required by Americans with

Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., N.Y.C.

Administrative Code § 8-107, et seq., and the laws of New York

               d.     An order certifying the Class and Sub-Classes under Fed. R. Civ. P. 23(a)

& (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class

Counsel;

               e.     Compensatory damages in an amount to be determined by proof, including

all applicable statutory and punitive damages and fines, to Plaintiff and the proposed class and

subclasses;

               f.     Pre- and post-judgment interest;




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               g.       An award of costs and expenses of the action together with reasonable

attorneys’ and expert fees; and

               h.       Such other and further relief as this Court deems just and proper.

                               DEMAND FOR TRIAL BY JURY


       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions of fact

the Complaint raises.

Dated: New York, New York
March 29, 2019                                                       GOTTLIEB & ASSOCIATES
                                                                           s/Jeffrey M. Gottlieb

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